Case 3:21-cv-03833-MAS-TJB Document 4 Filed 10/13/21 Page 1 of 2 PagelD: 87

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

KEYSTONE MOUNTAIN LAKES
REGIONAL COUNCIL OF CARPENTERS
as successors to NORTHEAST REGIONAL
COUNCIL OF CARPENTERS,
NORTHEAST CARPENTERS FUNDS AND
THE TRUSTEES THEREOF,

Petitioners,
Vv.

LAMORTE CONSTRUCTION,

Respondent.

 

 

Civil Action No, 21-3833 (MAS) (TJB)

MEMORANDUM ORDER

This matter comes before the Court on the Petition to Confirm Arbitration Award (ECF

No. 1) and Motion to Confirm Arbitration Award (ECF No, 2) of Keystone Mountain Lakes

Regional Council of Carpenters as successors to Northeast Regional Council of Carpenters,

Northeast Carpenters Funds and the Trustees thereof (‘Petitioners’), Lamorte Construction

(“Lamorte” or “Respondent’’) has not appeared in this action.

The underlying arbitration award in this matter provides that Lamorte is liable in the total

amount of $31,119.83 “as specifically set forth in paragraphs [one through three].” (Award &

Order, ECF No. 1 at *76.)' Paragraphs one through three include the following breakdown:

$21,010.87 Contribution delinquencies

$316.34 Interest

$4,202.17 Liquidated damages
$4,727.44 Attorneys’ fees
$800.00 Arbitrator’s fee

 

' The Court references the page numbers from the ECF headers.
Case 3:21-cv-03833-MAS-TJB Document 4 Filed 10/13/21 Page 2 of 2 PagelD: 88

The figures listed in paragraphs one through three, however, do not total $31,119.83.? Petitioners
do not account for the discrepancy in their Petition or Motion. In addition, Petitioners indicated
that they did not file a brief in support of the Petition “because there does not appear to be any
legal or factual issue in dispute.” (Pet’rs’ Statement, ECF No. 2-1.) Here, based on the
discrepancy in the figures and the lack of a legal brief, the Court finds that Petitioners have not
adequately demonstrated entitlement to relief. Based on the foregoing, and for other good cause
shown,

IT IS, on this 13th day of October 2021, ORDERED as follows:

1, Petitioners’ Motion to Confirm Arbitration Award (ECF No. 2) is DENIED

without prejudice.
2, Petitioners may file a renewed Motion by November 15, 2021 with appropriate

supporting documentation and a supporting brief.’

s/ Michael A. Shipp
MICHAEL A, SHIPP
UNITED STATES DISTRICT JUDGE

 

* The figures total $31,056.82.

> Petitioners’ renewed Motion must also include proof of service.

2
